Case 3:19-bk-30822         Doc 15      Filed 05/14/19 Entered 05/15/19 12:54:04    Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 14, 2019



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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

   IN RE:                                          )
                                                   )   Case No. 3:19-bk-30822
   TAGNETICS INC.,                                 )
                                                   )   Chapter 7 (Involuntary)
                          Alleged Debtor.          )
                                                   )   JUDGE GUY R. HUMPHREY



       ORDER ADMITTING STEPHEN B. STERN TO PRACTICE PRO HAC VICE
                        (RELATED DOCKET NO. 9)

        This matter is before the Court on the Motion of Robert R. Kracht (Doc. 9) for an Order

 admitting Stephen B. Stern pro hac vice pursuant to local Bankruptcy Rule 2090-1. This Court

 has reviewed the Motion and has determined that the legal and factual bases set forth in the

 Motion establish just cause for the relief granted herein.

        Accordingly, IT IS HEREBY ORDERED that, Stephen B. Stern be admitted pro hac vice

 to appear before the Court.

 IT IS SO ORDERED


 Service List: All Creditors and Parties in Interest
